UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

1, Title of case (name of first party on each side only) Matthew Haney, as Trustee of tne Gooseberry Island Trust v. Town of Mashpee

2. Category in which the case belongs based upon the numbered nature of suit code listed on the civil cover sheet. (See local
rule 40.1(a)(1)).

I. 160, 400, 410, 441, 535, 830°, 835*, 850, 880, 891, 893, R.23, REGARDLESS OF NATURE OF SUIT.

[ I. 110, 130, 190, 196, 370, 375, 376, 440, 442, 443, 445, 446, 448, 470, 751, 820%, 840", 895, &96, 899.

Ml. 4120, 140, 150, 151, 152, 153, 195, 210, 220, 230, 240, 245, 290, 310, 315, 320, 330, 340, 345, 350, 355, 360, 362,
365, 367, 368, 371, 380, 385, 422, 423, 430, 450, 460, 462, 463, 465, 480, 485, 490, 510, 530, 540, 550, 555, 560,
625, 680, 710, 720, 740, 790, 791, 861-865, 870, 871, 890, 950.
*Also complete AO 120 cr AO 121. for patent, trademark or copyright cases.

3. Title and number, if any, of related cases. (See local rule 40.1(g)). If more than one prior related case has been filed in this
district please indicate the title and number of the first filed case in this court.

Haney v Town of Mashpee et al 1:21-cv-10718-JGD

4. Has a prior action between the same parties and based on the same claim ever been filed in this court?
YES NO ¥

5. Does the complaint in this case question the constitutionality of an act of congress affecting the public interest? (See 28 USC

§2403)
YES LI NO
YES [| NO [

6. Is this case required to be heard and determined by a district court of three Judges rl to title 28 USC §2284?

YES NO

7. Do all of the parties in this action, excluding governmental agencies of the United States and the Commonwealth of
Massachusetts (“governmental agencies”), residing in Massachusetts reside In “Wi division? - P|. Rule 40.1(d)).

If so, is the U.S.A. or an officer, agent or employee of the U.S. a party?

YES NO
A. if yes, in which division_do all of the non-governmental parties reside?
Eastern Division Central Division | Western Division [ |
B. If no, in which division do the majority of the plaintiffs or the only parties, excluding governmental agencies,

residing in Massachusetts reside?

Eastern Division [ Central Division L Western Division LI]

8. If filing a Notice of Removal - are there any motions pending in the state court requiring the attention of this Court? (If yes,

submit a separate sheet identifying the motions)
YES [| NO LJ

(PLEASE TYPE OR PRINT)
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